                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,


                                   Plaintiffs,
    v.


    JASON KESSLER, et al.,

                                                           Civil Action No. 3:17-cv-00072-NKM




                                   Defendants.

           PLAINTIFFS’ MOTION FOR RULE 37 SANCTIONS AGAINST DEFENDANT
                                JEFF SCHOEP

         Plaintiffs move this Court pursuant to Rule 37 of the Federal Rules of Civil Procedure for

  sanctions against Defendant Jeff Schoep and for other such relief as the Court deems necessary

  and appropriate.

                                      PRELIMINARY STATEMENT

         A year and a half into this litigation, Plaintiffs have the same number of documents from

  Jeff Schoep that they had at the start of this case: zero. And make no mistake, that is by his design.

  Despite routine document requests, repeated follow-up correspondence with and his attorneys, and

  multiple court orders, Mr. Schoep persistently ignores and, at times, overtly disobeys his

  obligations to produce responsive documents.         Mr. Schoep has accomplished this through



Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 1 of 19 Pageid#: 3952
  unfulfilled promises to produce, crafty maneuvering, outright defiance of court orders and feigned

  ignorance of technological wherewithal (from a man who has remained active on social media

  throughout the life of this case). A week delay here, a few days there, over and over again, has

  added up to more than thirteen months of total failure to produce a single page. After countless

  letters, a successful motion to compel, multiple court conferences, and at least two court orders

  compelling production, we are precisely where we started this case, albeit now with a rapidly

  approaching discovery deadline. Fifty-six weeks after we served Mr. Schoep a document request,

  we are now seven weeks away from the end of fact discovery and Mr. Schoep is still intentionally

  withholding his electronic devices and access to any of his social media accounts. Mr. Schoep

  managed to escape his discovery obligations most recently by firing his attorney—for this

  litigation matter, but not others he is involved with—on the very day he was finally required to

  execute the third-party vendor contract and at long last surrender his electronic devices. Mr.

  Schoep’s evasive, death-by-a-thousand-cuts strategy has achieved what he and other Defendants

  seem to have set out to do from the very beginning: run out the discovery clock on Plaintiffs.

  Merely obtaining documents and digesting them in time to take a meaningful deposition before

  the current fact discovery cutoff will, at best, involve a Herculean effort that Plaintiffs should not

  have to bear. More likely, however, it will simply be impossible to take his deposition, let alone

  one consistent with due process, before the current end of fact discovery. Enough is enough: Mr.

  Schoep should be sanctioned. 1

          Plaintiffs seek the following sanctions under Rule 37:

      1. An order compelling Mr. Schoep to execute the third-party vendor contract within 24 hours
         and to provide access to his electronic devices and social media accounts immediately upon
         execution, with a substantial monetary penalty for every day thereafter that he fails to do
         so.

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   Plaintiffs intend to seek sanctions against Defendants Elliot Kline a/k/a Eli Mosley, Matthew Heimbach, and
  potentially others for similar dilatory tactics.


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Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 2 of 19 Pageid#: 3953
     2. An order compelling Mr. Schoep to certify under oath that there was no responsive content
        deleted from any electronic devices or social media accounts after this lawsuit was filed
        and to set forth in detail the efforts and steps he has taken to locate information responsive
        to Plaintiffs’ document requests.

     3. Reasonable expenses, including attorney’s fees, incurred by Plaintiffs in bringing the
        Motion to Compel Defendants to Permit Inspection and Imaging of Electronic Devices as
        well as the instant motion.
                                   FACTUAL BACKGROUND

         I.      Schoep’s Role in the Conspiracy

         On October 11, 2017, Plaintiffs sued various white supremacists under the Ku Klux Klan

  Act, 42 U.S.C. § 1983, among other statutes, for conspiring to engage in racially motivated

  violence and intimidation in the streets of Charlottesville, Virginia, in August 2017. (See Compl.,

  ECF No. 1.) Defendant Jeff Schoep at the time was one of the leaders of two different white

  supremacist groups: Defendant National Socialist Movement (“NSM”), the largest neo-Nazi

  coalition in the United States, and Defendant Nationalist Front (“NF”), an umbrella organization

  consisting of white supremacist and white nationalist groups. (Am. Compl., ECF No. 175 ¶¶ 37-

  39.) Mr. Schoep played an active role in planning and participating in the rally in Charlottesville

  and utilized five different social media platforms—along with his e-mail account and cell phone—

  to communicate in aid of the conspiracy. (See, e.g., id. ¶¶ 63; 214; 228; Ex. 3 at 1 (Def. Jeff

  Schoep’s Resp. to Def.’s First Interogs. and Req. for Prod. of Docs. (Apr. 6, 2018)).)

         Based on the limited evidence Plaintiffs have received thus far, there is reason to believe

  that each of his social media accounts contains important evidence in support of Plaintiffs’

  allegations. Shortly after the rally, for example, Mr. Schoep tweeted, “It was an Honor to stand

  with U all in C’Ville this weekend. NSM, NF, TWP, LOS, VA, ECK, CHS, and the rest, true

  warriors!” (Am. Compl. ¶ 37.) Mr. Schoep similarly used the social media service “VK” account



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Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 3 of 19 Pageid#: 3954
  to communicate with followers before and after the rally, as well as to raise money for the legal

  defense of himself and his organization while this case has been ongoing. (See Ex. 12 (Excerpted

  Posts from Jeff Schoep’s Public VK Profile (Aug. 8, 2017; Aug. 1, 2017; Aug. 15, 2017; May 29,

  2018), available at https://vk.com/id300604375.) Given Mr. Schoep’s role as an actively engaged

  “Commander” of major white supremacist organizations that had a robust presence in

  Charlottesville, the amount of relevant information contained on his electronic devices and the

  multiple social media accounts he used is potentially voluminous. But because of Mr. Schoep’s

  stalling and stonewalling, Plaintiffs still have none of it.

          II.     Plaintiffs’ Discovery Requests

          From the outset of this litigation, until very recently, Mr. Schoep has been represented by

  counsel. On January 25, 2018, Plaintiffs served a request for documents on all Defendants which

  sought all documents related to the events described in the Complaint, broken down into eight

  separate categories. (See Ex. 1 (Pls.’ [Corrected] First Set of Reqs. for Produc. of Docs. to All

  Defs. (Jan. 25, 2018)).) This straightforward request sought electronic documents, including, for

  example, e-mails, text messages, and content posted on social media, and also instructed Mr.

  Schoep to preserve all documents and communications relevant to this lawsuit. (Id. at 3; 5-6.) On

  the same date, Plaintiffs served Mr. Schoep with a set of interrogatories, asking Mr. Schoep to

  identify, among other things, all means of communication he used to communicate about the

  events set forth in the Complaint, as well as the electronic devices he used for such communication.

  (See Ex. 2 at 8 (Pls.’ First Set of Interrogs. to All Defs. (Jan. 25, 2018)).)

          III.    Schoep’s Response (or lack thereof)

          In a response served more than a month late, Mr. Schoep identified five different social

  media accounts, one cell phone, and one e-mail account he used to communicate about the events


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Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 4 of 19 Pageid#: 3955
  underlying this lawsuit. (See Ex. 3.) With respect to the responsive documents in his possession,

  Mr. Schoep represented, under oath, the following:

         Mr. Schoep, authorized officer of NSM, believes he can locate certain receipts and
         e-mails, that are responsive, however, he is not presently able to locate them. If
         located, they will be promptly provided to Plaintiffs. In addition there are numerous
         videos posted on nsm88.org that are responsive but, due to technical difficulties,
         cannot be turned over until the week of April 9, 2018.

  (Id. at 2.) In the ten months since making that commitment, although he has remained engaged in

  the litigation and comments on it on social media, see Ex. 12 at 4, Mr. Schoep has yet to produce

  a single document.

         Plaintiffs followed up on Mr. Schoep’s belated response two weeks later through a letter

  to his attorneys laying out the inadequacy of Defendants’ responses, including Mr. Schoep’s. (Ex.

  4 (Letter from G. Tenzer to J. Kolenich and E. Woodard (Apr. 24, 2018).) Among other things,

  Plaintiffs pointed out that Mr. Schoep’s discovery obligations went further than simply making

  vague reference to a website that purportedly contains responsive information mixed in with non-

  responsive information, and that Defendants are required to collect responsive material within their

  custody and control and produce it to Plaintiffs. (Id. at 3.) Plaintiffs also requested that Defendants

  execute Plaintiffs’ Proposed Order and Stipulation for the Production of Electronically Stored

  Information and Proposed Evidence Preservation Stipulation and Order. (Id.)

         After months of negotiation, Mr. Schoep neither produced documents nor signed the

  Proposed Order and Stipulation. Having received nothing from Mr. Schoep—as well as a host of

  other Defendants—Plaintiffs were forced to file a Motion to Compel Defendants to Permit

  Inspection and Imaging of Electronic Devices on October 2, 2018. (See ECF No. 354.) Plaintiffs

  sought to compel Defendants, including Mr. Schoep, to submit their electronic devices and social

  media accounts that contained potentially relevant information to a neutral, third-party vendor for

  imaging and preservation. Mr. Schoep, through his attorney Mr. Kolenich, opposed that motion.


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Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 5 of 19 Pageid#: 3956
  (See ECF No. 355.) After the parties fully briefed the issue, the Court granted Plaintiffs’ motion

  on November 13, 2018. (ECF No. 379.) During argument on the motion, the Court noted that

  “these discovery requests were issued in January; now it is November. And it is a significant

  delay.” (ECF No. 385 at 8 (Nov. 13, 2018 Tr.).)

         IV.     The Vendor Contract

         Cognizant of the time it would take to negotiate a contract with a discovery vendor and of

  the discovery cutoff (then February 8, 2019), Plaintiffs sent a contract to Defendants that they were

  prepared to sign on December 28, 2018. Although the deadline for fact discovery at that point was

  only five weeks away, Defendants, including Mr. Schoep, took their time reviewing the contract.

  In a January 4, 2019 hearing held at Plaintiffs’ request, Plaintiffs’ counsel informed the Court that

  “we have sent the contract to the other side. And we are waiting to hear back from them on

  that . . . . As you may recall, some of the certs came in late. And therefore, everything sort of -- it

  was a waterfall. And we’re falling behind.” (Ex. 5 at 13 (Jan. 4, 2019 Tr.).)

         As a result of these discovery delays, after the January 4 conference, the Court moved the

  fact discovery deadline back to April 17, 2019. (See ECF No. 397.) But Defendants, including

  Mr. Schoep, continued to negotiate the contract, primarily with the third-party vendor, for over a

  month—nearly one-third of the time left in the new fact discovery schedule. On January 16, 2019,

  Plaintiffs sought the Court’s assistance in encouraging Defendants to sign the third-party vendor

  contract so that discovery could proceed. Still, the contract remained unsigned. Mindful of the

  impending fact discovery deadline, Plaintiffs requested a conference with the Court to discuss a

  deadline by which Defendants could be ordered to execute the contract and then immediately

  tender their devices to the vendor for imaging. (Ex. 6 (Email from G. Tenzer to Judge Hoppe and




                                      6
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 6 of 19 Pageid#: 3957
  others (Feb. 6, 2019)).) The Court accommodated Plaintiffs’ request with another conference on

  February 12, 2019.

         The Court began the February 12 telephonic hearing by noting there were “deadlines that

  [Plaintiffs] would like to have set so that discovery can move forward and come to a completion

  in very short order, recognizing that we’re really about two months away from the close of

  discovery.” (Ex. 7 at 5 (Feb. 12, 2019 Tr.).) With respect to the vendor contract, the Court ordered

  Defendants to sign the contract by Friday, February 15: “[T]his has just got to move

  forward. . . .[T]his contract has got to be signed by Friday, whatever form the indemnification is

  in or not. . . . [W]hat I would like you all to do is to wrap up the negotiations on that and have the

  contract signed by this Friday.” (Id. at 9-12.)

         Recognizing that signing the contract was only the first step in a lengthy production process

  that involves imaging each of Defendants’ devices, Plaintiffs specifically requested that

  Defendants turn over their electronic devices and provide access to social media accounts at the

  time of entering into the contract. (Id. at 12-13.) The Court asked counsel for certain Defendants,

  Mr. Kolenich, who still represented Mr. Schoep, whether there was any problem with that. (Id.)

  Mr. Kolenich replied, “No. As I understand it, there’s no -- most of my clients are squared away

  with just sending it in these Faraday bags that the vendors will send. One or two of them, like, if

  there’s a larger device, if there’s someplace they can meet near where the client is. . . . I don’t

  foresee it being a problem. All of my people, as best I can tell . . . I understand that they’re going

  to have to turn these devices over and they’re prepared to do it.” (Id. at 13.) With respect to social

  media accounts, Plaintiffs asked that defense counsel “start pulling those all together to provide to

  the vendor so that once they get the devices and the account, they can immediately start performing

  the work that they need.” (Id. at 14-15.) Mr. Kolenich stated there would be no problem setting




                                      7
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 7 of 19 Pageid#: 3958
  up a call with the vendor that week to get the process started on providing access to Defendants’

  social media accounts. (Id. at 15-16.)

         V.      Schoep “Fires” Kolenich

         On February 14, Mr. Kolenich, who at that time still represented Mr. Schoep, stated he had

  no further comments on the vendor contract. (Ex. 8 (Email from J. Kolenich to J. Brennan and

  others (Feb. 14, 2019).) On February 16, however, the day after the contract was to be executed

  and all devices turned over, Mr. Kolenich reported that Mr. Schoep—along with the NSM and NF,

  which Mr. Schoep controls—had fired him, something Mr. Kolenich claimed was a “very recent

  development” that prevented him from being able to “ethically[] bind them to a contract[.]” (Ex.

  9 (Email from J. Kolenich to J. Brennan and others (Feb. 16, 2019)).) In other words, over the

  course of thirteen months since his electronic documents were requested, Mr. Schoep allowed Mr.

  Kolenich to respond to discovery requests, litigate a motion to compel, and undertake a months-

  long negotiation over the third-party vendor contract on his behalf. But he fired Mr. Kolenich on

  the day Mr. Kolenich was prepared to execute the contract on his behalf, which would have

  required Mr. Schoep finally to turn over his electronic devices. And tellingly, Mr. Schoep sought

  to terminate the representation by Mr. Kolenich only in this case; he expressly requested that Mr.

  Kolenich continue to represent him in other matters. (See ECF No. 421 at 2.)

         VI.     Schoep Fails to Participate or Comply with Court Orders

         Upon learning Mr. Schoep was proceeding in the litigation pro se, Plaintiffs reached out to

  Mr. Kolenich seeking permission to speak with Mr. Schoep regarding the third-party vendor

  contract. On Wednesday, February 20, Plaintiffs then emailed Mr. Schoep at the address provided

  by Mr. Kolenich. (Ex. 10 (Email from C. Greene to J. Schoep (Feb. 20, 2019)).) The email

  attached the third-party vendor contract and asked Mr. Schoep to execute the agreement.


                                      8
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 8 of 19 Pageid#: 3959
  Additionally, Mr. Schoep was invited to participate in the meet-and-confer among the parties

  scheduled for that afternoon. (Id.) Plaintiffs also offered to schedule another time to discuss search

  terms and other issues relating to the collection of Mr. Schoep’s devices and social media accounts

  with him. Mr. Schoep never responded to the email and failed to appear for the meet-and-confer.

  The Court held a conference the following day regarding the status of Defendants’ electronic

  device collection and production process. Not a single Defendant had yet provided the vendor

  with a single electronic device or access to a single social media account. Mr. Schoep failed to

  appear entirely.

         The Court held another conference on the issue on February 21, 2019. Mr. Schoep again

  failed to appear. Regarding Mr. Schoep, NSM, and NF failing to sign the third-party vendor

  contract, the Court inquired of Mr. Kolenich, “what is the holdup or the problem with them as far

  as signing the contract and providing the devices? I’m not asking you to get into attorney-client

  privileged information but can you tell me what is going on? . . . [W]hat is their problem with

  doing those? I mean, why are they not signing the contract?” (Ex. 11 at 9 ( Feb. 21, 2019 Tr.).)

  Mr. Kolenich stated only that he had “a theory, based on privileged information[]” but as to “why

  they won’t sign it or what they intend to do, [he did] not know.” (Id. at 10.) As of the filing of this

  motion, Mr. Schoep has yet to execute the third-party vendor contract, respond to Plaintiffs’

  communication, or provide access to any electronic device or social media account.

                                         LEGAL STANDARD

         A court may impose sanctions, up to and including dismissal or a default judgment, when

  a party fails to comply with discovery ordered by the court. See Fed. R. Civ. P. 37(b)(2); Mut.

  Fed. Sav. & Loan v. Richards & Ass’n., 872 F.2d 88, 92 (4th Cir. 1989). It is generally recognized

  that Rule 37 sanctions are intended to: (1) penalize culpable parties; (2) deter others from engaging




                                      9
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 9 of 19 Pageid#: 3960
   in similar conduct; (3) compensate the court and other parties for expense caused; and (4) compel

   discovery. See Gregory P. Joseph, Sanctions: The Federal Law of Litigation Abuse, § 49 (2013)

   (citing Carlucci v. Piper Aircraft Corp., 775 F.2d 1440, 1453 (11th Cir. 1985)).

            The Fourth Circuit has developed a four-part test for a district court to apply in determining

   what sanctions to impose under Rule 37: (1) whether the noncomplying party acted in bad faith; 2

   (2) the amount of prejudice that noncompliance caused the adversary; (3) the need for deterrence

   of the particular sort of non-compliance; and (4) whether less drastic sanctions would have been

   effective. Anderson v. Found. for Advancement, Educ. & Emp’t of Am. Indians, 155 F.3d 500,

   504 (4th Cir. 1998). The presence or absence of any one of these factors is not dispositive: “[t]he

   harshest of sanctions” may be imposed “when . . . culpability is minimally present, if there is a

   considerable showing of prejudice, or, alternatively, the prejudice is minimal but the culpability is

   great. . . .” Victor Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D. 497, 533 (D. Md. 2010).

            Rule 37 specifies a nonexclusive list of substantive, case-related sanctions for failure to

   obey a discovery order. See Fed. R. Civ. P. 37(b)(2)(A). Rule 37 also provides for the “payment

   of expenses” by the disobedient party, including “the reasonable expenses, including attorney’s

   fees, caused by the failure, unless the failure was substantially justified or other circumstances

   make an award of expenses unjust.” Id. at 37(b)(2)(C).




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     While bad faith is relevant to the analysis, and is evident in Mr. Schoep’s case, the Fourth Circuit does not require
   that a Court find bad faith in order to impose the type of sanctions being sought here. See Silvestri v. Gen. Motors
   Corp., 271 F.3d 583, 593 (4th Cir. 2001) (holding that dismissal for spoliation is “usually justified only in
   circumstances of bad faith or other like action. But even when conduct is less culpable, dismissal may be necessary
   if the prejudice to the defendant is extraordinary, denying it the ability to adequately defend its case.”); Sampson v.
   City of Cambridge, Md., 251 F.R.D. 172, 179 (D. Md. 2008) (“Although, some courts require a showing of bad faith
   before imposing sanctions, the Fourth Circuit requires only a showing of fault, with the degree of fault impacting the
   severity of sanctions.”).



                                      10
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 10 of 19 Pageid#: 3961
                                                 ARGUMENT

          Mr. Schoep has flouted both the Federal Rules and specific mandates from this Court,

   culminating in the eleventh hour termination of his counsel, in a transparent attempt to avoid

   turning over the very information this Court ordered all Defendants to disclose. After Mr. Schoep

   failed to produce a single document in the first ten months of discovery, Plaintiffs were forced to

   seek an order from this Court compelling him to submit his electronic devices and social media

   accounts to a third-party vendor for imaging. When Mr. Schoep failed to execute the agreement

   necessary to begin the imaging process, Plaintiffs were forced to return to the Court to seek a

   deadline for him to do so. That deadline was imposed by the Court and then promptly ignored by

   Mr. Schoep who, rather than comply with the Court’s directive, chose to fire his lawyers on the

   very day he was required to sign the agreement. He has since ignored communications from

   Plaintiffs and continues to withhold all documents. His obstinate disobedience is not only willful,

   it has effectively run out the discovery clock, virtually eliminating any chance that Plaintiffs can

   conduct the necessary follow-up investigation or take a meaningful deposition from Mr. Schoep

   in the few short weeks left in the discovery period. The Federal Rules simply do not allow a party

   to prejudice its adversary by willfully evading discovery violations and wantonly violating Court

   orders without any recourse. That is precisely what Rule 37 is for.

          Applying the four-part test to this case makes clear that sanctions against Mr. Schoep are

   warranted. There is no question that Mr. Schoep “failed, without reasonable explanation, to

   comply with the discovery rules and a court order, which alone merits admonishment.” Diversified

   Servs., LLC v. Nat’l Cas. Co., No. 2:14–CV–00033, 2015 WL 164088, at *3 (S.D.W. Va Jan. 13,

   2015). “Indeed, any noncompliance by a party with a court-ordered discovery deadline is a ground

   for some form of sanctions.” Bluestein v. Cent. Wis. Anesthesiology, S.C., 296 F.R.D. 597, 600




                                      11
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 11 of 19 Pageid#: 3962
   (W.D. Wis. 2013) (citing Tamari v. Bache & Co., 729 F.2d 469, 473 (7th Cir. 1984) (“[C]ulpability

   of a party who fails to comply with a court order determines only which sanctions the court should

   impose and not whether any sanctions are appropriate at all.”)). Not only has Mr. Schoep failed

   to provide any documents in the more than thirteen months since he was served with document

   requests, he has taken affirmative steps to evade court orders obstruct Plaintiffs’ attempts to obtain

   his documents, such as firing his attorney in this matter (but not others) when the time finally came

   for him to sign the third-party vendor agreement and surrender his devices. The Court should infer

   bad faith from those facts alone. See, e.g., Green v. John Chatillon & Sons, 188 F.R.D. 422, 424

   (M.D.N.C. 1998) (noting “[n]oncompliance with discovery orders can serve as a basis for a finding

   of bad faith,” and dismissing plaintiff’s claims with prejudice under the four-part Mutual Federal

   test based on plaintiff’s “complete failure to provide discovery over eight months after the original

   requests and over two months after being ordered . . . to do so” (emphasis added)); Daye v. Gen.

   Motors Corp., 172 F.R.D. 173, 177 (M.D.N.C 1997) (“The failure of Plaintiffs and Colbert to

   honor the Orders of this Court and Colbert’s failure to initiate any contact with Defendant’s

   counsel for over six months constitutes both unjustifiable negligence as well as bad faith.”).

          Moreover, Mr. Schoep has not articulated any legitimate explanation for his failure to

   produce the documents he promised by “the week of April 9, 2018” or to sign the third-party

   vendor contract when ordered to do so by the Court. (See Ex. 3 at 2.) When asked by the Court

   during the February 21 conference—a conference that Mr. Schoep ignored—what Mr. Schoep’s

   problem was in signing the contract and providing his devices, Mr. Kolenich stated he did not

   know. (Ex. 11 at 9-10.) The inability to provide reasons for discovery failures has been taken by

   courts as evidence of bad faith. See Robinson v. Yellow Freight Sys., 132 F.R.D. 424, 428

   (W.D.N.C. 1990) (“Plaintiff has utterly failed to come forward with any legitimate reason that




                                      12
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 12 of 19 Pageid#: 3963
   explains his refusal to attend the two (2) scheduled depositions in Kingstree. Thus, the Court

   concludes that Plaintiff chose to disregard this Court’s discovery orders in bad faith.”). It is

   particularly suspicious that Mr. Schoep waited until the very day he was supposed to sign the

   contract to fire his attorneys and to seek to fire them in this matter alone, while hoping to retain

   them in other matters. This Court should not countenance such gamesmanship.

          The prejudice to Plaintiffs from a Mr. Schoep’s wholesale failure to produce documents is

   substantial. Mr. Schoep was the leader of one of the entity Defendants, NSM. (Am. Compl. ¶¶

   37-38.) He participated in the planning of the Charlottesville rally, and attended the rally alongside

   others from his organization. (Id. ¶¶ 63; 214; 228.) Without access to a single document from

   him or his organization, it will be difficult for Plaintiffs to establish at trial the pivotal role he

   seems to have played. Courts have recognized that a party’s failure to provide documents

   necessary for its adversary to prove elements of its case constitutes the prejudice Rule 37 seeks to

   remedy. See, e.g., Mut. Fed., 872 F.2d at 93 (“Mutual suffered great prejudice as a result of the

   defendants’ misconduct because Mutual could not prove its case, in particular its RICO claim,

   without the business and bank records withheld by R & A.”). Certainly, the logic of Mutual

   Federal, which dealt with a partial production, applies a fortiori when a party fails to provide any

   documents whatsoever.

          Additionally, while Mr. Schoep admitted in his interrogatory response that he attended the

   rally with other members of NSM (Ex. 3 at 1), Plaintiffs currently do not know who those other

   members are, which is detrimental to Plaintiffs’ ability to prove liability against NSM as an

   organization. Were Mr. Schoep to have produced the content of his phone or other social media

   accounts in a timely manner, Plaintiffs would have had the ability to discover who else from his

   organization participated in the planning of, or attended, the rally, with time to potentially




                                      13
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 13 of 19 Pageid#: 3964
   investigate and depose those people. Even were Mr. Schoep to suddenly produce the evidence he

   has been withholding for over a year, there is no time left on the discovery clock for Plaintiffs to

   conduct any meaningful follow-up investigation on what they receive. In addition to the time and

   expense it has cost Plaintiffs to pursue basic discovery from Mr. Schoep, he should not be allowed

   to prejudice Plaintiffs in their ability to investigate and prove their case through willful defiance

   of the discovery process. 3

            Regarding deterrence, the Supreme Court has instructed that the “the most severe in the

   spectrum of sanctions provided by statute or rule must be available to the district court in

   appropriate cases, not merely to penalize those whose conduct may be deemed to warrant such a

   sanction, but to deter those who might be tempted to such conduct in the absence of such a

   deterrent.” Nat’l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639, 643 (1976). Such

   deterrence is particularly necessary in this case. As the Court is aware, Mr. Schoep is far from the

   only Defendant who has failed to produce a single document. Indeed, nine of the remaining

   Defendants have yet to turn over any documents, seven weeks before the close of fact discovery.

   Plaintiffs have worked diligently throughout this case to comply with their own discovery

   obligations and even to facilitate Defendants’ ability to meet theirs, offering, for example, to pay

   for costs Plaintiffs are rarely obligated to shoulder. Those efforts have been met with stall tactics

   by Defendants, leaving Plaintiffs hamstrung in their ability to receive and review Defendants’

   documents in time to take meaningful depositions and conduct any follow-up investigation.




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     While the Court noted it was “going to make sure that [Plaintiffs] have time to make use of those documents for
   the depositions” (Ex. 11), that ship seems to have already sailed. The time it takes for the vendor to process the
   electronic devices and social media accounts once they are provided would likely leave Plaintiffs days, at best, to
   review and digest the documents prior to the end of fact discovery, even if Mr. Schoep decides to become fully
   compliant overnight.



                                      14
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 14 of 19 Pageid#: 3965
          Finally, the sanctions Plaintiffs are seeking are the least drastic necessary to encourage

   compliance with this Court’s orders and Defendants’ discovery obligations, as well as to remedy

   the expense and effort Plaintiffs have undertaken to obtain Mr. Schoep’s documents. Plaintiffs do

   not seek any of the more damaging case-related options listed in Rule 37. However, it is apparent

   that the Court’s clear order that the third-party vendor contract be signed by Friday, February 15,

   was insufficient to motivate Mr. Schoep to take even that first step toward producing his

   documents, and that the sanctions Plaintiffs have requested are narrowly tailored to penalize Mr.

   Schoep appropriately, deter others from committing similar misconduct, and remedy the

   substantial prejudice Mr. Schoep has caused Plaintiffs.

                                               CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court grant the Motion,

   impose the requested sanctions on Mr. Schoep, and order such other relief as the Court deems

   necessary and appropriate.



   Dated: February 27, 2019                             Respectfully submitted,

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                                      15
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 15 of 19 Pageid#: 3966
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                                      16
Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 16 of 19 Pageid#: 3967
                                    RULE 37 CERTIFICATION

           Plaintiffs hereby certify pursuant to Rule 37(a)(1) that they have attempted to meet and
   confer with Mr. Schoep. In addition to the various communications and court proceedings
   detailed on pages three through nine, Mr. Greene emailed Mr. Schoep on February 20, 2019 at
   the address provided by Mr. Kolenich, asking him to sign the third-party vendor contract and
   inviting him to join the meet-and-confer scheduled that afternoon. See Ex. 10. Mr. Greene also
   offered to schedule another time to speak with Mr. Schoep. Id. Mr. Schoep never responded to
   that communication, and then failed to appear for both the meet-and-confer and the call with the
   Court scheduled for the following day.



   Dated: February 27, 2019                            Respectfully submitted,


                                                       /s/ Michael L. Bloch
                                                       Michael L. Bloch (pro hac vice)
                                                       Christopher B. Greene (pro hac vice)

                                                       /s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)


                                                       Counsel for Plaintiffs




Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 17 of 19 Pageid#: 3968
                                        CERTIFICATE OF SERVICE

          I hereby certify that on February 27, 2019, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

       Justin Saunders Gravatt                              Lisa M. Lorish
       David L. Hauck                                       Federal Public Defenders Office
       David L. Campbell                                    Western District of Virginia - Charlottesville
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       Law Office of John A. DiNucci                        National Socialist Movement, 1 Matthew
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       McLean, VA 22102                                     Party, Jason Kessler, Vanguard America,
       dinuccilaw@outlook.com                               Nathan Damigo, Identity Europa, Inc.
                                                            (Identity Evropa), and Christopher Cantwell
       Counsel for Defendant Richard Spencer




   1
           Although Plaintiffs understand that Mssrs. Kolenich and Woodard have terminated their representation of
   Defendants Nationalist Front and National Socialist Movement, a proper substitution of counsel has yet to be
   approved by the Court.




Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 18 of 19 Pageid#: 3969
           I further hereby certify that on February 27, 2019, I also served the following non-ECF
   participants, via U.S. mail, First Class and postage prepaid, addressed as follows:


    Loyal White Knights of the Ku Klux Klan          Moonbase Holdings, LLC
    a/k/a : Loyal White Knights Church of            c/o Andrew Anglin
    the Invisible Empire, Inc.                       P.O. Box 208
    c/o Chris and Amanda Barker                      Worthington, OH 43085
    2634 U.S. HWY 158 E
    Yanceyville, NC 27379


    Andrew Anglin                                    East Coast Knights of the Ku Klux Klan
    P.O. Box 208                                     a/k/a East Coast Knights of the
    Worthington, OH 43085                            True Invisible Empire
                                                     26 South Pine St.
                                                     Red Lion, PA 17356

    Fraternal Order of the Alt-Knights               Augustus Sol Invictus
    c/o Kyle Chapman                                 9823 4th Avenue
    52 Lycett Circle                                 Orlando, FL 32824
    Daly City, CA 94015




           I further hereby certify that on February 27, 2019, I also served the following non-ECF
    participants, via electronic mail, as follows:


    Elliot Kline                                     Matthew Heimbach
    eli.f.mosley@gmail.com                           matthew.w.heimbach@gmail.com


   Jeff Schoep,
   jeffschoep@gmail.com

                                                       /s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
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                                                       Counsel for Plaintiffs




Case 3:17-cv-00072-NKM-JCH Document 432 Filed 02/27/19 Page 19 of 19 Pageid#: 3970
